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EXHIBIT 1
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TURKISH EMBASSY
WASHINGTON, 0.G

Z-2023/95505191/36880775 -

The Embassy of the Republic of Tiirkiye presents its compliments to the U.S. Department
of Justice and has the honor to enclose herewith documents, transmitted by the Turkish Ministry
of Justice on behalf of the 30th Labor Court of istanbul, Anadolu ( No:2023/396), seeking
judicial assistance in the case involving "X Crop."

The said court requests to receive the information mentioned in the attached letter rogatory.
The Department of Justice is kindly requested to intercede with the appropriate U.S. Authorities
in order to enable the provision of the aforementioned judicial assistance.

The Embassy of the Republic of Tiirkiye avails itself of this opportunity to renew to the
U.S. Department of Justice the assurances of its highest consideration.

U.S. Department of Justice

Office of Foreign Litigation

Office of International Judicial Assistance
(Katerina V. Ossenova)

1100 L Street, NW, Room 8102
Washington, D.C. 20530

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CIV 189-25-24-13
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ADDITION:1 (ENGLISH)
LETTERS ROGATORY

1.Name and address of the requesting authority: ISTANBUL ANATOLIAN
30"! LABOR COURT
Esentepe District E-5 Sought Sideline
Road No:39 34865 Kartal/ISTANBUL

File No: 2023-396 Base

2.Name and address of the requested authority: U.S. DEPARTMENT OF JUSTICE
CIVIL DIVISION OFFICE OF INTERNATIONAL JUDICIAL ASSISTANCE
Benjamin Franklin Station P.O. Box 14360 Washington, D.C. 20004 United
States of America

3. Names, nationalities and addresses of the parties to the lawsuit:

LITIGANT: RAMAZAN SILAH-Turkish Rebuplic ID No: 18476226466
Adress: Demirtas Cumhuriyet District Demirtas Osmangazi Street No:43
Apt.No: 9 Osmangazi/BURSA

DEFENDANT: TURKEY HALKBANK JOINT-STOCK COMPANY
Adress: Barbaros District Shebboy Street No:4/1 Atasehir/ISTANBUL

4. Names and addresses of legal representatives, if any:

PLAINTIFF ATTORNEY: DEFENDANT'S ATTORNEY:
Lawyer IDRIS TEVFIK GULEC Lawyer EDA KOCA
[16665-66752-32399] NENS (35773-03779-12150] NENS
Lawyer ZEYNEP KUTUROGLU

[1688 1-88088-72702] NENS
* National Electronic Notification System (NENS)

5. The nature of the case that requires
the provision of the requested evidence,
all the information that needs to be given regarding this issue:

On the basis of the "Detection (Reinstatement Request)” case pending in our court; the plaintiff
Ramazan Silah's employment contract was terminated by the defendant company on the
grounds that he humiliated the defendant Turkey Halkbank Joint-Stock Company due to his
posts on the social media platform called Twitter during the pandemic period. Thereupon, the
plaintiff Ramazan Silah applied to our court and filed a lawsuit for reinstatement. The issue of
investigating the e-mail address, telephone number registered to the Twitter user account, and
the IP number used when the posts were made regarding the posts of the plaintiff Ramazan
Silah on his Twitter social media account under the username "devilishsaturn", which caused
the termination of his employment contract, has been investigated.

6. Place and date of the hearing:

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7. The nature of the request for an appeal:

As the basis for the "Detection (Reinstatement Request)" case pending in our court; plaintiff
Ramazan Silah's e-mail address, telephone number that registered to his twitter user account,
under the username "devilishsaturn" on his social media account called Twitter, regarding his
posts clearly stated below, which caused the termination of his employment contract, and the
IP number used when the posts were made, were asked from X Crop company. We kindly
request your assistance in sending the relevant documents to our court and thank you in advance
for your assistance.

with username “devilishsaturn” ;

- In his tweet dated 10.10.2021 at 23:42 “Halkbank is committing a fascist practice by forcing
its staff to take the PCR test that its customers do not want. I have been resisting against this
fascist practice for 29 days. My paid leave ends next month, after which they put me on unpaid
leave and put financial pressure and threats on me.”

- In his tweet dated 17.10.2021 at 02:52 “Let Halkbank hear this news. They have been usurping
my right to work with bullying for exactly 35 days.”

- In his tweet dated 17.10.2021 at 02:54 “ Halkbank has been usurping my right to work for 35
days and is threatening to put me on unpaid leave on November 4th. This news is exactly what
such tyrannical companies should read.”

8. Names, nationalities and addresses of the people whose testimony will be requested:
Name: X Crop (Twitter, Inc)
Adress: 1355 Market Street, Suite 900 San Francisco, California 94103
United States of America
9. Questions to be asked to the people whose statements will be taken:

10. Documents requested to be examined, real estate or other personal property:

11. Whether information about the date and place of the letter of rogatory is requested
in order to ensure that the interested parties are present in the letter of rogator

12. Other judicial proceedings required to be carried out:

13. Taking the statement under oath or by affidavit and any special procedural
request to be used:

14. Any particular method or procedure:

15.Additions:

ISTANBUL ANATOLIBIA wo} 2!
307 LABOR COURIMEDGES 7.
11/09/2023 *

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S tSTINABE TALEPNAMESI

Letter of Request

t. Talep eden makammm adt ve adrest : iSTANBUL ANADOLU 30.1 MAHKEMESI
ESENTEPE MAHALLES! E-5 GUNEY YANYOL CADDES!I

NO:39 34865 KARTALASTANBUL DOSYA NO:2023-396 ESAS

2. Talep edilen makamm adt ve adresi: AMERIKA BIRLESIK DEVLETi YETKILi ADLI MAKAMINA
U.S, Department of Justice Civil Division Office of International Judicial Assistance
Benjamin Franklin Station P.O. Box 14360 Washington, D.C. 20004 United States of

/ America
3. Dava taraflarinin isim, uyrukluk ve adresleri:
DAVACI:
RAMAZAN SILAH - 18476226466 - Demirtas Cumhuriyet Mah.

Demirtas Osmangazi Cad. No:43 I¢ Kapi No:9 Osmangazi/BURSA

DAVALI
TURKIYE HALK BANKASI ANONIM SIRKETI - Barbaros

Mahallesi Sebboy Sokak No:4/1 Atasehir/ISTANBUL

4, Eger varsa yasal temsilcilerinin .
isim ve adresleri : ¥ VACLVEKILI: DAVALLVEKILI:
Av. iDRIS TEVFIK GULEC Av. EDA KOCA -
- {16665-66752-32399] UETS [35773 - 03779 - 12150] UETS
Av.ZEYNEP KUTUROGLU

- [16881-88088-72702] UETS

5. Talep konusu delilin saflanmasim gerekli
kilan davanin niteligi, bu konuyla ilgili

verilmesi gerekli biitén bilgiler :

Mahkememizde  gdrilmekte olan "Tespit (Ise lade istemli)"  davasina esas olmak ~—Uizere;
davac: Ramazan Silah'in pandemi déneminde twitter adli sosyal medya platformu tizerinden yapmis oldugu paylasimlars
nedeniyle davali Tarkiye Halk Bankas: Anonim Sirketitni kigitk dilstirdtigu gerekcesi ile davalt girket tarafindan is akdine son
verilmistir. Bunun dizerine davaci Ramazan Silah mahkememize basvurarak ise iade davasi agmigtir. Davaci Ramazan Silah'in
twitter adli sosyal medya hesabinda “devilishsaturn” kullanict adtyla, is akdinin fesih olmasina sebep olan paylasimlarmna iliskin
twitter kullanic: hesabina kayrtl e-posta adres, telefon numarasi ayrica paylasimlarin yapttdigi ssrada kullanilan IP numarasinin

arastinimas: hususu hasi! olmustur.
6. Durusmanin yeri ve tarihi :

7, istinabe talebinin niteligi :

Mahkememizde gériilmekte olan "Tespit (ise lade istemli)" davasina esas olmak tizere;

davacs Ramazan Silah'in twitter adli sosyal medya hesabinda "devilishsaturn” kullanict adtyla, is akdinin fesih olmasina
sebep olan asagida agikga yer alan paylagimlarina iliskin twitter kullantc: hesabma kayrth e-posta adres, telefon numaras1
ayrica paylasimlarin yapildig) strada kullanilan IP numarasinin X Crop sirketinden sorularak ilgili belgelerin mahkememize
ginderilmesi hususundaki yardimlarmiz rica eder ve yardimlarimiz igin simdiden tegekkiir ederiz.

“devilishsatum" kullanict kodu ile;

-10.10.2021 tarih 23:42 saatli tweetinde “Halkbank miisterilerinden istemedigi per testini
personeline zorla yaptirarak fagist bir uyguiama yapmaktadir. Bu fasist uygulamaya karst
29 giinddr direniyorum. Ucretli iznim Steki ay bitiyor ondan sonra iicretsz izne cikararak
maddi olarak da baska ve tehditte bulunuyorlar."

-17.10.2021 tarih 02:52 saatli tweetinde "Halkbankasi duysun bu haberi. Zorbahkla ¢aligma
hakkimi gasp ediyorlar tam 35 gtindiir." api
. oN Sagres
_-17.10.2021 tarih 02:54 saatli tweetinde "Halkbankas: 35 giindiir caligsma hakkiumu gasp Me
ediyor ve 4 kasumda dcretsiz izne gikarmakla tehdit ediyor. Bu haberi tam biyle zorba i aN
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8. Ifadesine basvurulacak kisilerin isim,
uyrukluk ve adresleri :

Adi: X Crop (Twitter, Inc)
Adres: 1355 Market Street, Suite 900 San Francisco, Kaliforniya 94103 Amerika Birlesik Devletleri_

9, ffadesine basvurulacak kisilere
yoneltilecek sorular :

10. incelenmesi istenen belgeler, taginmaz

veya kisisel dizer mal varlifn :

The documents or other property, real

or personal, to be inspected sassscsssesessassessoressesrseesscesoeenens

11. istinabe isleminde ilgililerin haar bulunmasimi
saflamak iizere istinahenin tariht ve yeri
konusunda bilgi istenip istenmedizi:

Request for notification of the time and place for

the execution of the request (Art 7):

12. Yerine getirilmesi istenen diger adli islemler :
The other judicial acts to be executed :

13. ifadenin yeminle veya onaylanmak
suretiyle alinmasi ve kullanilacak
herhangi bir dzel usule iliskin talep :

14, Herhangi bir 5zel yintem veya usul :
Any special method or procedure to be
followed:

15, Ekler:

